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10                                     UNITED STATES DISTRICT COURT

11                                   NORTHERN DISTRICT OF CALIFORNIA

12                                              SAN JOSE DIVISION

13
     ADRIAN CABRERA ESPINOZA,                             CASE NO. 5:23-CV-05872-PCP
14
             Petitioner-Plaintiff,
15                                                        STIPULATED JOINT REQUEST TO RESET
        v.                                                BRIEFING SCHEDULE ON MOTION FOR
16                                                        PRELIMINARY INJUNCTION AND
     MOISES BECERRA, in his official capacity,            SPECIALLY SET A HEARING ON THE
17   Director for the San Francisco ICE Field Office;     MOTION FOR PRELIMINARY INJUNCTION;
     ALEJANDRO MAYORKAS, in his official                  [PROPOSED] ORDER
18   capacity, Secretary of the Department of
     Homeland Security; PATRICK J.
19   LECHLEITNER, in his official capacity, Acting        Honorable P. Casey Pitts
     Director for U.S. Immigration and Customs            United States District Judge
20   Enforcement; and MERRICK GARLAND, in
     his official capacity, Attorney General of the
21   United States,

22           Respondents-Defendants.

23

24           Petitioner and Respondents by and through their undersigned counsel, hereby stipulate as
25 follows:

26           1.       Petitioner filed a petition for writ of habeas corpus on November 14, 2023. Dkt. No. 1.
27           2.       Petitioner filed a motion for a preliminary injunction on November 14, 2023. Dkt. No. 3.
28
     Stipulated Joint Request to Reset Briefing Schedule on Motion for Preliminary Injunction and
     Specially Set a Hearing on the Motion for Preliminary Injunction; 5:23-CV-05872-PCP
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 1          3.       Respondents must currently respond to Petitioner’s motion by November 28, 2023.

 2 Dkt. No. 3.

 3          4.       Petitioner’s motion is currently set to be heard on December 19, 2023. Dkt. No. 3.

 4          5.       Counsel for Petitioner and Respondents conferred about a briefing schedule for

 5 Petitioner’s motion given their availability and Thanksgiving, a federal holiday. The parties agreed to

 6 modify the briefing schedule.

 7          6.       Based on that agreement, Respondents will file their response to Petitioner’s

 8 motion by December 5, 2023.

 9          7.       Based on that agreement, Petitioner will file any reply by December 12, 2023.

10          8.       The parties respectfully request that Petitioner’s Motion for a Preliminary Injunction be

11 heard on a date specially set by the Court including, but not limited to, on December 19, 2023,

12 December 20, 2023, December 21, 2023, December 22, 2023, or as soon as practicable, with a

13 preference for December 22, 2023 and based on the Court’s availability.

14          9.       There have not been any other time modifications in the case, whether by stipulation or

15 Court order.

16          10.      Pursuant to Civil L.R. 6-1(b) and Civil L.R. 6-2(a), Petitioner and Respondents

17 respectfully request that the Court approve the briefing schedule and specially set Petitioner’s Motion

18 for a Preliminary Injunction to be heard on December 19, 2023, December 20, 2023, December 21,

19 2023, December 22, 2023, or as soon as practicable, with a preference for December 22, 2023.

20          SO STIPULATED.

21                                                 ISMAIL J. RAMSEY
                                                   United States Attorney
22
     Dated: November 17, 2023              By:     /s/ Douglas Johns
23                                                 DOUGLAS JOHNS
                                                   Assistant United States Attorney
24                                                 Attorney for Respondents

25 Dated: November 17, 2023                        LAKIN & WILLE LLP

26                                         By:     /s/ Judah Lakin
                                                   JUDAH LAKIN
27                                                 Attorneys for Petitioner
28
     Stipulated Joint Request to Reset Briefing Schedule on Motion for Preliminary Injunction and
     Specially Set a Hearing on the Motion for Preliminary Injunction; 5:23-CV-05872-PCP
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              Case 5:23-cv-05872-PCP Document 13 Filed 11/20/23 Page 3 of 4




 1                                              ATTESTATION

 2          In compliance with Civil L.R. 5-1(i)(3), I, Douglas Johns, attest that I have obtained

 3 concurrence in the filing of this document from each of the other signatories.

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 5 Dated: November 17, 2023               By:     /s/ Douglas Johns
                                                  DOUGLAS JOHNS
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     Stipulated Joint Request to Reset Briefing Schedule on Motion for Preliminary Injunction and
     Specially Set a Hearing on the Motion for Preliminary Injunction; 5:23-CV-05872-PCP
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              Case 5:23-cv-05872-PCP Document 13 Filed 11/20/23 Page 4 of 4




 1                                          [PROPOSED] ORDER

 2          Pursuant to stipulation, and for good cause shown, IT IS SO ORDERED.

 3          1. Respondents must file their response to Petitioner’s motion for a preliminary injunction by

 4 December 5, 2023.

 5          2. Petitioner must file any reply by December 12, 2023.

 6          3. A hearing on Petitioner’s motion for a preliminary injunction shall be specially set on

 7 December 22, 2023, if the Court is unavailable, or on December 19, 2023, December 20, 2023,

 8 December 21, 2023, or as soon as practicable . Wednesday, December 20, 2023 at 1:00pm.

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13          IT IS SO ORDERED.

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15
            November 20, 2023
16 Dated:

17                                               THE HONORABLE P. CASEY PITTS
                                                 United States District Judge
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     Stipulated Joint Request to Reset Briefing Schedule on Motion for Preliminary Injunction and
     Specially Set a Hearing on the Motion for Preliminary Injunction; 5:23-CV-05872-PCP
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